                          Case 21-30589-MBK Doc 3951-5 Filed 05/04/23 Entered 05/04/23 14:40:14                                                     Desc
                                                         Time Entries
                                        Exhibit D- MTD Plaintiff TrialforTime
                                                                          the Period
                                                                                Entries Page 1 of 7
                                                                        11/17/2021 Through 02/25/2022



     Date    Timekeeper                                                             Narrative                                                              Hours Billed    Amount Billed
11/22/2021      RJP       Appear at initial status conference before Judge Kaplan, including final preparation and follow‐up (summary) re same                      2.10       $2,509.50
12/01/2021      SMK       Analyze committee's motion to dismiss case                                                                                                0.60         $645.00
12/01/2021      RJP       Briefly review Committee's motion to dismiss; confer with working group re same                                                           0.30         $358.50
12/01/2021      MLT       Analyze motion to dismiss chapter 11 case                                                                                                 0.60         $948.00
12/01/2021      NM        Review TCC's motion to dismiss                                                                                                            0.40         $272.00
12/07/2021      RJP       Analyze discovery‐related correspondence                                                                                                  0.20         $239.00
12/07/2021      SMK       Analyze letters to court re discovery dispute in connection with motion to dismiss                                                        0.20         $215.00
12/07/2021      MLT       Analyze correspondence re discovery re motion to dismiss case; cursory review of schedules and SOFAs                                      0.80       $1,264.00
12/08/2021      RJP       Exchange email correspondence with TCC counsel re depositions and discovery                                                               0.30         $358.50
12/09/2021      RJP       Analyze A&I motion to dismiss                                                                                                             0.50         $597.50
12/09/2021      RJP       Analyze Debtor's PI memorandum                                                                                                            0.80         $956.00
12/09/2021      SMK       Analyze Arnold Itkin motion to dismiss case                                                                                               0.60         $645.00
12/09/2021      SMK       Analyze Debtor's supplemental brief re PI motion                                                                                          0.90         $967.50
12/09/2021      MLT       Analyze supplemental memo in support of preliminary injunction; analyze Arnold & Itkin motion to dismiss case; analyze                    1.60
                          correspondence re possible additions to committee                                                                                                     $2,528.00
12/09/2021      NM        Review supplemental PI motion brief                                                                                                       0.70         $476.00
12/15/2021      SMK       Analyze UST's examiner motion and M. Tuchin's email re same                                                                               0.60         $645.00
12/15/2021      NM        Review UST's motion for examiner                                                                                                          0.40         $272.00
12/16/2021      SMK       Research re trustee component of motion to dismiss/appoint trustee                                                                        1.60        $1,720.00
12/16/2021      SMK       Begin drafting motion to dismiss or alternatively appoint chapter 11 trustee                                                              0.90         $967.50
12/16/2021      RJP       Outline motion to dismiss arguments; confer and correspond with S. Kidder and N. Maoz re preparation of motion                            0.80         $956.00
12/17/2021      SMK       Emails with R. Pfister and committee counsel re deposition scheduling                                                                     0.20         $215.00
12/17/2021      SMK       Review proposed confidentiality/protective order and email R. Pfister, N. Maoz re same                                                    0.40         $430.00
12/17/2021      RJP       Exchange email correspondence with Committee counsel re December 20 and 22 depositions; prepare for same                                  0.60         $717.00
12/18/2021      RJP       Exchange email correspondence with J. Morris re J&J depositions                                                                           0.10         $119.50
12/19/2021      RJP       Telephone conference with J. Morris re J&J depositions                                                                                    0.30         $358.50
12/20/2021      RJP       Appear at deposition of M. Goodrich (JJCI President)                                                                                      8.80       $10,516.00
12/20/2021      SMK       Analyze Debtor's objection to motion to withdraw reference                                                                                0.50         $537.50
12/21/2021      RJP       Prepare opposition to PI motion                                                                                                           0.70         $836.50
12/21/2021      RJP       Analyze Debtor's objection to motion to withdraw reference re PI motion                                                                   0.50         $597.50
12/21/2021      SMK       Work on opposition to Debtor's preliminary injunction motion                                                                              1.70        $1,827.50
12/21/2021      MLT       Analyze Debtor's objection to TCC motion for withdrawal of reference; analyze Hill relief from stay motion                                1.00        $1,580.00
12/21/2021      NM        Draft opposition to PI motion                                                                                                             1.40         $952.00
12/22/2021      RJP       Analyze Debtor's opposition to motion to dismiss; confer and correspond with working group re depositions and discovery                   1.30
                          incident thereto                                                                                                                                      $1,553.50
12/22/2021      RJP       Prepare, finalize, and file opposition to renewed PI motion and Skadden employment application; analyze Committee's filings re            3.20
                          same                                                                                                                                                  $3,824.00
12/22/2021      SMK       Emails with Pachulski (J. Morris) re document production and upcoming depositions                                                         0.10         $107.50
12/22/2021      SMK       Analyze Debtor's opposition to motion to dismiss case                                                                                     0.70         $752.50
12/22/2021      SMK       Analyze TCC's opposition to PI motion                                                                                                     0.90         $967.50



                                                                                                                                                                                     1 of 7
                          Case 21-30589-MBK Doc 3951-5 Filed 05/04/23 Entered 05/04/23 14:40:14                                               Desc
                                                         Time Entries
                                        Exhibit D- MTD Plaintiff TrialforTime
                                                                          the Period
                                                                                Entries Page 2 of 7
                                                                     11/17/2021 Through 02/25/2022



     Date    Timekeeper                                                          Narrative                                                           Hours Billed    Amount Billed
12/22/2021      SMK       Draft opposition to renewed PI motion, including review and incorporation of R. Pfister comments                                    4.40       $4,730.00
12/22/2021      NM        Review TCC objection to PI motion; draft and revise objection to PI motion; correspondence re the same                              2.00       $1,360.00
12/22/2021      NM        Appear at deposition of R. Wuesthoff                                                                                                8.00       $5,440.00
12/23/2021      RJP       Analyze discovery requests re motions to dismiss; exchange email correspondence re same and next steps                              0.30         $358.50
12/23/2021      NM        Draft joinder to motions to dismiss                                                                                                 0.30         $204.00
12/23/2021      NM        Review Debtor's response to motion to dismiss                                                                                       0.50         $340.00
12/27/2021      RJP       Exchange email correspondence with PSZ&J and Committee counsel re upcoming discovery and scheduling order                           0.20         $239.00
12/28/2021      SMK       Work on motion to dismiss case                                                                                                      0.50         $537.50
12/28/2021      RJP       Revise and finalize motion to dismiss; exchange email correspondence re same                                                        0.40         $478.00
12/28/2021      NM        Draft motion to dismiss                                                                                                             0.80         $544.00
12/29/2021      RJP       Review correspondence re discovery disputes, scheduling, and examiner motion / Committee re‐composition; follow‐up re               0.50
                          same                                                                                                                                             $597.50
12/30/2021      RJP       Exchange email correspondence with PSZ&J re hearing, discovery, and next steps; confer with S. Kidder re same                       0.30         $358.50
12/31/2021      RJP       Review correspondence re M. Goodridge and R. Wuesthoff deposition designations                                                      0.10         $119.50
12/31/2021      RJP       Review A&I letter re motion to dismiss briefing                                                                                     0.10         $119.50
01/03/2022      RJP       Exchange email correspondence with J. Morris (PSZ&J) and M. Rasmussen (Jones Day) re discovery matters, deposition                  0.40
                          designations, and document production                                                                                                            $530.00
01/03/2022      RJP       Appear at hearing re discovery matters and case management / scheduling in connection with preliminary injunction and               1.30
                          motions to dismiss                                                                                                                              $1,722.50
01/04/2022      RJP       Exchange email correspondence with Debtor's counsel and working group re document production                                        0.20         $265.00
01/04/2022      SMK       Analyze summary of Debtor's supplemental document production                                                                        0.20         $235.00
01/04/2022      SMK       Analyze M. Rasmussen email re Debtor's supplemental document production                                                             0.10         $117.50
01/04/2022      NM        Analyze Debtor's document production                                                                                                0.50         $387.50
01/05/2022      RJP       Analyze Debtor's omnibus reply in support of preliminary injunction motion; prepare for hearing re same                             1.00        $1,325.00
01/05/2022      RJP       Analyze mark‐ups of CMO re discovery dates/deadlines and expert testimony; exchange email correspondence re same                    0.50         $662.50
01/05/2022      SMK       Analyze Debtor's reply re preliminary injunction motion, including case law cited therein                                           1.20        $1,410.00
01/05/2022      SMK       Analyze and revise notices of deposition for J. Kim and R. Dickinson                                                                0.20         $235.00
01/06/2022      RJP       Review revisions to CMO and email correspondence re same and discovery matters                                                      0.20         $265.00
01/06/2022      RJP       Appear at hearing re discovery matters and case administration                                                                      1.00        $1,325.00
01/07/2022      RJP       Review discovery‐related notices and correspondence; exchange email correspondence with K. Charonko re CMO and discovery            0.40
                          plan                                                                                                                                             $530.00
01/07/2022       RJP      Analyze Committee's letter re adjournment of preliminary injunction hearing; follow‐up re same                                      0.20         $265.00
01/07/2022      SMK       Exchange email correspondence with TCC and Debtor re discovery concerning motions to dismiss                                        0.20         $235.00
01/07/2022      SMK       Analyze TCC letter re status/scheduling of preliminary injunction motion                                                            0.20         $235.00
01/07/2022      MLT       Analyze reply re motion to lift preliminary injunction; joinder in motions to dismiss; correspondence re adjournment of             0.90
                          preliminary injunction hearing; and hearing agenda                                                                                              $1,570.50
01/07/2022      NM        Review Debtor's reply re preliminary injunction                                                                                     0.80         $620.00
01/08/2022      RJP       Review discovery‐related correspondence                                                                                             0.10         $132.50
01/09/2022      RJP       Review CMO mark‐up; exchange email correspondence re same and re discovery                                                          0.20         $265.00
01/10/2022      RJP       Appear at hearing re preliminary injunction motion, discovery, and scheduling                                                       1.00        $1,325.00



                                                                                                                                                                               2 of 7
                          Case 21-30589-MBK Doc 3951-5 Filed 05/04/23 Entered 05/04/23 14:40:14                                                  Desc
                                                         Time Entries
                                        Exhibit D- MTD Plaintiff TrialforTime
                                                                          the Period
                                                                                Entries Page 3 of 7
                                                                      11/17/2021 Through 02/25/2022



     Date    Timekeeper                                                           Narrative                                                          Hours Billed    Amount Billed
01/12/2022      SMK       Analyze subpoena to S&P                                                                                                             0.20         $235.00
01/12/2022      RJP       Review order denying motion to withdraw reference; client correspondence re same                                                    0.20         $265.00
01/12/2022      RJP       Review subpoena to S&P Global and draft A&I 30(b)(6) deposition notice re motions to dismiss; exchange email                        0.80
                          correspondence with working group re upcoming depositions and finalization of case management deadlines for February
                          hearing on motions to dismiss                                                                                                                   $1,060.00
01/12/2022      RJP       Meet‐and‐confer conference call with Debtor, Committees, and A&I re discovery and trial management for February hearings            1.00
                          on motions to dismiss                                                                                                                           $1,325.00
01/12/2022      NM        Exchange email correspondence re depositions                                                                                        0.20         $155.00
01/12/2022      NM        Review document production                                                                                                          0.50         $387.50
01/13/2022      RJP       Analyze Committees' letter to Court re preliminary injunction hearing                                                               0.10         $132.50
01/13/2022      RJP       Analyze Committees' letters to Court re discovery issues                                                                            0.40         $530.00
01/13/2022      RJP       Exchange email correspondence with working group re depositions and discovery matters                                               0.20         $265.00
01/13/2022      SMK       Analyze TCC's motion to quash Debtor's discovery requests                                                                           0.20         $235.00
01/13/2022      SMK       Analyze Debtor's and TCC's letters to Court re discovery disputes                                                                   0.40         $470.00
01/13/2022      SMK       Review A&I deposition notice                                                                                                        0.10         $117.50
01/13/2022      SMK       Review and revise deposition notices re motions to dismiss                                                                          0.10         $117.50
01/13/2022      NM        Review letter re discovery issues                                                                                                   0.20         $155.00
01/13/2022      NM        Draft deposition notices; correspondence re same                                                                                    0.40         $310.00
01/14/2022      RJP       Review and revise draft discovery; exchange email correspondnece with working group re same                                         0.50         $662.50
01/14/2022      RJP       Appear at hearing re preliminary injunction motion and discovery issues                                                             2.00        $2,650.00
01/14/2022      SMK       Analyze Debtor's responses and objections to discovery                                                                              0.40         $470.00
01/14/2022      SMK       Review TCC's deposition notices and subpoenas                                                                                       0.10         $117.50
01/14/2022      SMK       Analyze selected documents produced by Debtor, including re incentive bonuses                                                       0.20         $235.00
01/14/2022      SMK       Analyze Debtor's further correspondence to Court re discovery disputes                                                              0.20         $235.00
01/17/2022      RJP       Exchange email correspondence re depositions and document discovery; follow‐up re case management order and discovery               0.50
                          protocol                                                                                                                                         $662.50
01/17/2022      SMK       Exchange email correspondence with Debtor's counsel and A&I re deposition scheduling                                                0.20         $235.00
01/18/2022      SMK       Review Debtor's expert disclosures                                                                                                  0.10         $117.50
01/18/2022      SMK       Analyze Debtor's document production re T. Mongon and privilege log                                                                 0.10         $117.50
01/18/2022      SMK       Review email correspondence re Debtor's 30(b)(6) deposition                                                                         0.10         $117.50
01/18/2022      RJP       Exchange email correspondence with Debtor's counsel and Committee counsel re depositions and document discovery                     0.40         $530.00
01/18/2022      NM        Review Debtor's document production                                                                                                 0.30         $232.50
01/19/2022      SMK       Review amended deposition notices re R. Dickinson and J. Kim                                                                        0.10         $117.50
01/19/2022      RJP       Appear at hearing re Committee reconstitution                                                                                       2.60        $3,445.00
01/19/2022      NM        Appear at deposition of T. Mongon                                                                                                   8.40        $6,510.00
01/20/2022      SMK       Review fourth request for production of documents                                                                                   0.10         $117.50
01/20/2022      SMK       Analyze Debtor's letter to TCC re expert disclosures                                                                                0.20         $235.00
01/22/2022      SMK       Exchange email correspondence with J. Morros and C. Joshi re depositions and witness lists                                          0.10         $117.50
01/22/2022      RJP       Review email correspondence re witness list for motion to dismiss hearing and discovery matters                                     0.10         $132.50
01/23/2022       RJP      Analyze J&J's letter to Court re open discovery issues                                                                              0.20         $265.00



                                                                                                                                                                               3 of 7
                          Case 21-30589-MBK Doc 3951-5 Filed 05/04/23 Entered 05/04/23 14:40:14                                                      Desc
                                                         Time Entries
                                        Exhibit D- MTD Plaintiff TrialforTime
                                                                          the Period
                                                                                Entries Page 4 of 7
                                                                        11/17/2021 Through 02/25/2022



     Date    Timekeeper                                                             Narrative                                                             Hours Billed    Amount Billed
01/24/2022      SMK       Exchange email correspondence with R. Pfister, N. Maoz re privilege issue in connection with Debtor's document production,               0.30
                          including research re same                                                                                                                            $352.50
01/24/2022      SMK       Analyze Committee's additional subpoenas re motions to dismiss                                                                           0.20         $235.00
01/24/2022      RJP       Confer and correspond with working group re discovery matters; follow‐up re same                                                         0.50         $662.50
01/24/2022      RJP       Appear at discovery conference re February hearing on motions to dismiss                                                                 1.50        $1,987.50
01/24/2022      NM        Analyze supplemental document production                                                                                                 1.80        $1,395.00
01/24/2022      NM        Appear at J. Azevedo deposition                                                                                                          3.70        $2,867.50
01/25/2022      RJP       Analyze bankruptcy scholars' amicus brief re motions to dismiss                                                                          0.70         $927.50
01/25/2022      RJP       Prepare for R. Dickinson deposition; analyze discovery‐related notices and correspondence; exchange email correspondence                 0.80
                          with objecting parties' working group re February hearing preparation                                                                                $1,060.00
01/25/2022      SMK       Review M. Ryan privilege log in advance of deposition                                                                                    0.20         $235.00
01/25/2022      NM        Review document production                                                                                                               0.50         $387.50
01/26/2022      RJP       Telephone conference with J. Morris re Committee issues and discovery                                                                    0.50         $662.50
01/26/2022      SMK       Analyze professors' amici brief                                                                                                          0.50         $587.50
01/26/2022      SMK       Appear at portion of R. Dickinson deposition                                                                                             6.40        $7,520.00
01/27/2022      RJP       Review order re in camera review of Board minutes; review and approve joint discovery plan; analyze discovery‐related filings            0.40
                          and correspondence                                                                                                                                    $530.00
01/27/2022      SMK       Review email correspondence re supplemental document production                                                                          0.10         $117.50
01/27/2022      SMK       Exchange email correspondence re February hearing logistics                                                                              0.10         $117.50
01/27/2022      SMK       Appear at deposition of M. Ryan                                                                                                          7.60        $8,930.00
01/28/2022      SMK       Analyze J. Kim privilege log                                                                                                             0.20         $235.00
01/28/2022      SMK       Analyze Debtor's letter re 30(b)(6) notice and responses/objections to document requests                                                 0.20         $235.00
01/28/2022      SMK       Review Debtor's letter re confidentiality designations for deposition transcripts                                                        0.10         $117.50
01/28/2022      SMK       Exchange email correspondence re meet and confer on discovery                                                                            0.10         $117.50
01/28/2022      SMK       Review and categorize Debtor's January 27 document production                                                                            3.60        $4,230.00
01/28/2022      SMK       Conference call with TCC counsel re trial strategy for February hearing                                                                  0.60         $705.00
01/28/2022      RJP       Conference call with Committees and A&I re February hearing (coordination and allocation of time) and discovery                          0.50         $662.50
01/29/2022      SMK       Review Debtor's email re supplemental document production                                                                                0.10         $117.50
01/29/2022       RJP      Analyze expert reports                                                                                                                   1.20        $1,590.00
01/29/2022      RJP       Meet‐and‐confer call with Debtor, Committees, and A&I re February hearing logistics and discovery                                        1.00        $1,325.00
01/29/2022      NM        Review and send correspondence re document production                                                                                    0.20         $155.00
01/30/2022      SMK       Exchange email correspondence with R. Pfister re C. Andrew deposition                                                                    0.20         $235.00
01/30/2022      SMK       Review Debtor's letter re clawback of privileged document                                                                                0.10         $117.50
01/30/2022      RJP       Exchange email correspondence re upcoming depositions and expert discovery matters; coordinate with S. Kidder re same                    0.30         $397.50
01/31/2022      SMK       Analyze E. Chemerinsky amicus brief                                                                                                      0.20         $235.00
01/31/2022      SMK       Analyze tort professors' amicus brief re motion to dismiss                                                                               0.40         $470.00
01/31/2022      SMK       Review Debtor's application for approval of discovery plan and ESI protocol                                                              0.10         $117.50
01/31/2022      SMK       Appear at deposition of J. Kim                                                                                                           7.90        $9,282.50
01/31/2022      SMK       Review Debtor's January 29 document production                                                                                           1.90        $2,232.50
01/31/2022       RJP      Analyze proposed amicus briefs from constitutional law professors and E. Chemerinsky                                                     0.70         $927.50



                                                                                                                                                                                    4 of 7
                          Case 21-30589-MBK Doc 3951-5 Filed 05/04/23 Entered 05/04/23 14:40:14                                                            Desc
                                                         Time Entries
                                        Exhibit D- MTD Plaintiff TrialforTime
                                                                          the Period
                                                                                Entries Page 5 of 7
                                                                         11/17/2021 Through 02/25/2022



     Date    Timekeeper                                                               Narrative                                                               Hours Billed    Amount Billed
01/31/2022      RJP       Exchange email correspondence with Debtor's counsel and other objecting parties re February hearing time allocation and                      0.40
                          discovery matters; follow‐up re same                                                                                                                       $530.00
02/01/2022      RJP       Exchange email correspondence with Debtor's counsel and Committees' counsel re hearing logistics, timing, and remaining                      0.50
                          open discovery matters; follow‐up re same                                                                                                                  $662.50
02/01/2022      MLT       Analyze filings re amicus briefs, hearing on dismissal motions, preliminary injunction, and automatic stay; review hearing                   0.80
                          agendas                                                                                                                                                  $1,396.00
02/01/2022      SMK       Exchange email correspondence with Committees and Debtor re expert deposition dates and C. Mullin report issues                              0.20         $235.00
02/01/2022      SMK       Analyze Committee's supplemental brief re preliminary injunction motion                                                                      0.40         $470.00
02/01/2022      SMK       Review Debtor's supplemental document production                                                                                             0.50         $587.50
02/01/2022      SMK       Appear at deposition of J. Kim as 30(b)(6) representative                                                                                    5.80        $6,815.00
02/02/2022      RJP       Review discovery‐related notices and correspondence; follow‐up re same                                                                       0.20         $265.00
02/02/2022      RJP       Review Debtor's objection to amicus briefing                                                                                                 0.20         $265.00
02/02/2022      RJP       Appear at trial management conference and discovery hearing re motions to dismiss                                                            1.00        $1,325.00
02/02/2022      SMK       Analyze Debtor's objection to amicus motions                                                                                                 0.20         $235.00
02/02/2022      SMK       Exchange email correspondence with Committees and Debtor re A. Lisman deposition, document production, and privilege log                     0.10
                                                                                                                                                                                    $117.50
02/02/2022      MLT       Analyze opposition to amicus motion; review amended agenda                                                                                   0.40         $698.00
02/03/2022      RJP       Appear at hearing re amicus briefs and motions to dismiss                                                                                    1.50        $1,987.50
02/03/2022      MLT       Analyze filing re alleged breach of protective order; exchange e‐mail correspondence re results of hearing; analyze replies in               1.30
                          support of motion to dismiss; analyze motion for TRO against Reuters                                                                                     $2,268.50
02/03/2022      SMK       Analyze Debtor's TRO motion re Reuters                                                                                                       0.20         $235.00
02/03/2022      SMK       Analyze Debtor's correspondence to Court re alleged breach of protective order                                                               0.10         $117.50
02/03/2022      SMK       Review Debtor's supplemental document production                                                                                             0.60         $705.00
02/03/2022      SMK       Exchange email correspondence with R. Pfister re supplemental briefing re motions to dismiss, including research re same                     0.30         $352.50
02/03/2022      SMK       Analyze replies in support of motions to dismiss                                                                                             1.30        $1,527.50
02/04/2022      SMK       Analyze A&I motion in limine re motion to dismiss                                                                                            0.10         $117.50
02/04/2022      SMK       Analyze Reuters, Committees and Debtor correspondence re TRO                                                                                 0.30         $352.50
02/04/2022       RJP      Analyze sur‐reply briefing re motions to dismiss; prepare for hearing re same                                                                1.80        $2,385.00
02/05/2022      RJP       Exchange email correspondence with B. Glasser, J. Morris, J. Jonas, and L. Davis Jones re trial preparation and planning                     0.30         $397.50
02/05/2022      RJP       Conference call with B. Glasser, J. Jonas, L. Davis Jones, and J. Morris re trial preparation                                                0.50         $662.50
02/06/2022      RJP       Exchange email correspondence with C. Joshi, B. Glasser, J. Jonas, and J. Morris re trial preparation and logistics / strategy               0.80        $1,060.00
02/07/2022      SMK       Review M. Ryan deposition transcript for designation at trial                                                                                0.30         $352.50
02/07/2022      SMK       Analyze Debtor's motion in limine re expert witnesses                                                                                        0.10         $117.50
02/07/2022      SMK       Analyze Debtor's objection to preliminary injunction sur‐reply                                                                               0.20         $235.00
02/07/2022      SMK       Analyze Debtor's response letter re privilege dispute                                                                                        0.20         $235.00
02/07/2022      SMK       Analyze draft outline of proof and exhibit list, including email correspondence re same                                                      0.30         $352.50
02/07/2022      SMK       Analyze Committees' motion in limine re J. Castellano expert testimony                                                                       0.20         $235.00
02/07/2022      SMK       Analyze Debtor's expert reports in advance of expert depositions                                                                             0.70         $822.50
02/07/2022      SMK       Review production of A. Lisman custodial files                                                                                               1.90        $2,232.50
02/07/2022       RJP      Analyze motions in limine re certain expert witnesses                                                                                        0.60         $795.00



                                                                                                                                                                                        5 of 7
                          Case 21-30589-MBK Doc 3951-5 Filed 05/04/23 Entered 05/04/23 14:40:14                                                           Desc
                                                         Time Entries
                                        Exhibit D- MTD Plaintiff TrialforTime
                                                                          the Period
                                                                                Entries Page 6 of 7
                                                                          11/17/2021 Through 02/25/2022



     Date    Timekeeper                                                                Narrative                                                               Hours Billed    Amount Billed
02/07/2022      RJP       Exchange email correspondence with B. Glasser, J. Jonas, A. Silverstein, D. Stolz, and J. Morris re trial preparation, logistics /            0.80
                          timing, and negotiations with Debtor's counsel re same                                                                                                    $1,060.00
02/08/2022      RJP       Appear at expert deposition of D. Bell                                                                                                        5.90        $7,817.50
02/08/2022      SMK       Analyze Canadian plaintiffs' opposition to motions to dismiss                                                                                 0.20         $235.00
02/08/2022      SMK       Analyze filings re further briefing on preliminary injunction motion                                                                          0.10         $117.50
02/08/2022      SMK       Analyze Debtor's supplemental unredacted production                                                                                           0.30         $352.50
02/08/2022      SMK       Appear at A. Lisman deposition                                                                                                                5.60        $6,580.00
02/08/2022      NM        Analyze S&P document production re J&J rating; prepare for S&P depositions                                                                    5.60        $4,340.00
02/08/2022      NM        Analyze expert reports                                                                                                                        1.20         $930.00
02/09/2022      SMK       Analyze Debtor's objection to motions in limine re expert witnesses                                                                           0.20         $235.00
02/09/2022      SMK       Analyze Debtor's sur‐reply re motions to dismiss                                                                                              0.60         $705.00
02/09/2022      SMK       Analyze preliminary hearing exhibit lists                                                                                                     0.20         $235.00
02/09/2022      SMK       Review correspondence re production of unredacted documents                                                                                   0.10         $117.50
02/09/2022      MLT       Analyze filings and correspondence re expert reports, discovery, FCR, and dismissal motions                                                   1.50        $2,617.50
02/09/2022      RJP       Review S&P subpoenas, N. Maoz deposition summaries, and correspondence / filings re discovery matters                                         0.50         $662.50
02/09/2022      RJP       Exchange email correspondence with co‐movants re preparations and logistics for trial of motions to dismiss                                   0.70         $927.50
02/09/2022      RJP       Analyze briefing re motions in limine                                                                                                         0.30         $397.50
02/09/2022      RJP       Telephone conference with B. Glasser re trial preparations                                                                                    0.20         $265.00
02/09/2022      NM        Appear at expert deposition of S. Burian                                                                                                      7.10        $5,502.50
02/10/2022      SMK       Analyze Debtor's supplemental document production                                                                                             0.10         $117.50
02/10/2022      SMK       Appear at expert deposition of J. Castellano                                                                                                  6.60        $7,755.00
02/10/2022      RJP       Exchange email correspondence with co‐movants re trial planning and preparation, deposition designations, and exhibits lists;                 0.70
                          follow‐up re same                                                                                                                                          $927.50
02/10/2022      RJP       Prepare for final depositions (S&P); coordinate with N. Maoz re same; analyze deposition summaries                                            0.80        $1,060.00
02/10/2022      RJP       Appear at hearing re motions in limine and trial logistics                                                                                    0.80        $1,060.00
02/10/2022      NM        Appear at expert deposition of M. Diaz                                                                                                        7.00        $5,425.00
02/11/2022      RJP       Appear at expert deposition of C. Mullin                                                                                                      3.00        $3,975.00
02/11/2022      SMK       Exchange email correspondence re trial logistics, objections to exhibits, and designations                                                    0.50         $587.50
02/11/2022      NM        Review stipulation re record on preliminary injunction motion; correspondence re same                                                         0.40         $310.00
02/11/2022      NM        Conference call with Debtor's counsel and objecting parties re preliminary injunction scheduling                                              0.20         $155.00
02/11/2022      NM        Appear at S&P depositions (D. Kaplan and A. Wong)                                                                                             6.60        $5,115.00
02/12/2022      SMK       Exchange email correspondence re trial coordination and exhibit lists                                                                         0.40         $470.00
02/12/2022      NM        Analyze and compile hearing exhibits                                                                                                          0.70         $542.50
02/13/2022      RJP       Prepare opening statement for trial on motions to dismiss and preliminary injunction motion; analyze and comment on draft                     3.30
                          openings from B. Glasser, J. Jonas, and L. Davis Jones; exchange extensive email correspondence re same and trial strategy
                          generally                                                                                                                                                 $4,372.50
02/13/2022      RJP       Meet with trial team to prepare for first day of trial on motions to dismiss and preliminary injunction motion                                2.00        $2,650.00
02/13/2022      NM        Review exhibits and compile trial exhibits                                                                                                    0.40         $310.00
02/14/2022      RJP       Meet with trial team to prepare for second day of hearings on motions to dismiss and preliminary injunction motion                            1.70        $2,252.50
02/14/2022      RJP       Appear at first day of trial on motions to dismiss and preliminary injunction motion                                                          9.80       $12,985.00



                                                                                                                                                                                         6 of 7
                          Case 21-30589-MBK Doc 3951-5 Filed 05/04/23 Entered 05/04/23 14:40:14                                                      Desc
                                                         Time Entries
                                        Exhibit D- MTD Plaintiff TrialforTime
                                                                          the Period
                                                                                Entries Page 7 of 7
                                                                        11/17/2021 Through 02/25/2022



     Date    Timekeeper                                                             Narrative                                                           Hours Billed    Amount Billed
02/14/2022      SMK       Exchange email correspondence with D. Prieto, N. Maoz, and local counsel re stipulation re preliminary injunction motion               0.10         $117.50
02/14/2022      NM        Appear at portion of first day of trial on motions to dismiss and preliminary injunction motion                                        7.20       $5,580.00
02/15/2022      RJP       Appear at second day of trial on motions to dismiss and preliminary injunction motion                                                  9.50      $12,587.50
02/15/2022      NM        Calls and correspondence re preliminary injunction stipulation                                                                         0.40         $310.00
02/16/2022      RJP       Research and prepare closing argument re motions to dismiss                                                                            1.50       $1,987.50
02/16/2022      RJP       Meet with co‐movants re closing statements and remaining evidence / argument                                                           1.00       $1,325.00
02/16/2022      RJP       Appear at third day of trial on motions to dismiss and preliminary injunction motion                                                   8.50      $11,262.50
02/16/2022      SMK       Review confidentiality designations re C. Mullin expert report                                                                         0.10         $117.50
02/16/2022      SMK       Legal research and analysis re closing argument                                                                                        0.30         $352.50
02/16/2022      NM        Research re bad faith standards in Third Circuit for closing argument                                                                  1.00         $775.00
02/17/2022      SMK       Follow‐up research and analysis for closing argument                                                                                   0.40         $470.00
02/17/2022      RJP       Prepare for closing argument on preliminary motion                                                                                     1.30       $1,722.50
02/17/2022      RJP       Appear at fourth day of trials on motions to dismiss and preliminary injunction motion                                                 8.80      $11,660.00
02/17/2022      NM        Research re bad faith dismissal issues for closing argument                                                                            1.50       $1,162.50
02/18/2022      RJP       Appear at fifth day of trial on motions to dismiss and preliminary injunction motion                                                   8.30      $10,997.50
02/19/2022      RJP       Review email correspondence from D. Stolz re trial on motions to dismiss and preliminary injunction motion                             0.10         $132.50
02/20/2022      RJP       Review email correspondence from C. Speckhart re trial on motions to dismiss and preliminary injunction motion                         0.10         $132.50
02/22/2022       RJP      Analyze J&J's response to amicus briefs; review portions of trial transcripts and exchange email correspondence with co‐               0.70
                          movants re trial and next steps                                                                                                                      $927.50
02/25/2022      RJP       Analyze opinions re motions to dismiss and preliminary injunction motion; confer with M. Tuchin re same and next steps                 1.50        $1,987.50
Total:                                                                                                                                                         286.50      $325,601.00




                                                                                                                                                                                  7 of 7
